

Matter of Boldi (2025 NY Slip Op 02340)





Matter of Boldi


2025 NY Slip Op 02340


Decided on April 23, 2025


Appellate Division, Second Department


Per Curiam.



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 23, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

HECTOR D. LASALLE, P.J.
MARK C. DILLON
COLLEEN D. DUFFY
BETSY BARROS
LAURENCE L. LOVE, JJ.


2024-00684

[*1]In the Matter of Daniel L. Boldi, admitted as Daniel Louis Boldi, an attorney and counselor-at-law. Grievance Committee for the Tenth Judicial District, petitioner; Daniel L. Boldi, respondent. (Attorney Registration No. 4129524)



MOTION by the Grievance Committee for the Tenth Judicial District to strike the respondent's name from the roll of attorneys and counselors-at-law, pursuant to Judiciary Law § 90(4)(b), based upon his conviction of a felony. Separate motions by the Grievance Committee, inter alia, (1) to deem the charges against the respondent in a petition dated May 21, 2024, established and to impose discipline upon the respondent pursuant to 22 NYCRR 1240.8(a)(6), and (2) to immediately suspend the respondent from the practice of law pursuant to Judiciary Law § 90 and 22 NYCRR 1240.9(a)(2), (3), (4), and (5). The respondent was admitted to the Bar at a term of the Appellate Division of the Supreme Court in the Second Judicial Department on July 23, 2003, under the name Daniel Louis Boldi.



Catherine A. Sheridan, Hauppauge, NY (Elizabeth A. Grabowski of counsel), for petitioner.



PER CURIAM.


OPINION &amp; ORDER
On October 17, 2024 , the respondent pleaded guilty before the Honorable Caryn R. Fink of the County Court, Nassau County, to: (1) thirteen counts of grand larceny in the second degree, a class C felony, in violation of Penal Law § 155.40(1), and (2) one count of scheme to defraud in the first degree, a class E felony, in violation of Penal Law § 190.65(1)(b).
The Grievance Committee for the Tenth Judicial District now moves to strike the respondent's name from the roll of attorneys and counselors-at-law, pursuant to Judiciary Law § 90(4)(b), based upon his felony convictions. Although the respondent was duly served, he has neither opposed the motion nor interposed any response thereto.
By separate motions, the Grievance Committee moves, inter alia, (1) to deem the charges against the respondent in a petition dated May 21, 2024, established and to impose discipline upon the respondent pursuant to 22 NYCRR 1240.8(a)(6), and (2) to immediately suspend the respondent from the practice of law pursuant to Judiciary Law § 90 and 22 NYCRR 1240.9(a)(2), (3), (4), and (5).
Pursuant to Judiciary Law § 90(4)(a), the respondent was automatically disbarred and ceased to be an attorney upon his conviction of a felony.
Accordingly, the motion to strike the respondent's name from the roll of attorneys and counselors-at-law, pursuant to Judiciary Law § 90(4)(b), is granted to reflect the respondent's automatic disbarment as of October 17, 2024. The Grievance Committee's separate motions are denied as academic.
LASALLE, P.J., DILLON, DUFFY, BARROS and LOVE, JJ., concur.
ORDERED that the Grievance Committee's motion to strike the name of the respondent, Daniel L. Boldi, admitted as Daniel Louis Boldi, from the roll of attorneys and counselors-at-law, pursuant to Judiciary Law § 90(4)(b), is granted, and the Grievance Committee's separate motions, inter alia, to deem the charges against the respondent in a petition dated May 21, 2024, established and to immediately suspend the respondent from the practice of law are denied as academic; and it is further,
ORDERED that pursuant to Judiciary Law § 90(4)(a), the respondent, Daniel L. Boldi, admitted as Daniel Louis Boldi, is disbarred, effective October 17, 2024, and his name is stricken from the roll of attorneys and counselors-at-law, pursuant to Judiciary Law § 90(4)(b); and it is further,
ORDERED that the respondent, Daniel L. Boldi, admitted as Daniel Louis Boldi, shall comply with the rules governing the conduct of disbarred or suspended attorneys (see  22 NYCRR 1240.15); and it is further,
ORDERED that pursuant to Judiciary Law § 90, the respondent, Daniel L. Boldi, admitted as Daniel Louis Boldi, is commanded to desist and refrain from (1) practicing law in any form, either as principal or as agent, clerk, or employee of another, (2) appearing as an attorney or counselor-at-law before any court, Judge, Justice, board, commission, or other public authority, (3) giving to another an opinion as to the law or its application or any advice in relation thereto, and (4) holding himself out in any way as an attorney and counselor-at-law; and it is further,
ORDERED that if the respondent, Daniel L. Boldi, admitted as Daniel Louis Boldi, has been issued a secure pass by the Office of Court Administration, it shall be returned forthwith to the issuing agency, and the respondent shall certify to the same in his affidavit of compliance pursuant to 22 NYCRR 1240.15(f).
ENTER:
Darrell M. Joseph
Clerk of the Court








